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 8                        UNITED STATES DISTRICT COURT

 9                       EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,            No.   2:12-cr-00315 JAM
12                Plaintiff,
13        v.                              ORDER DENYING DEFENDANT
                                          WOODARD’S MOTION TO DISMISS AND
14   LEE LOOMIS et al.,                   MOTION TO SUPPRESS
15                Defendant.
16

17        This matter is before the Court on Defendant Peter Woodard’s

18   (“Defendant”) Motion to Dismiss (Doc. #168) and Motion to

19   Suppress (Doc. #168).     The Government has opposed Defendant

20   Woodard’s Motion to Dismiss (Doc. #177) as well as his Motion to

21   Suppress (Doc. #176).     The Court heard argument from both parties

22   on July 22, 2014.

23

24                 I.    FACTUAL AND PROCEDURAL BACKGROUND

25        On September 6, 2012, Defendants Lee Loomis, John Hagener,

26   Darren Fehst, Michael Llamas, Peter Woodard, Joseph Gekko, and

27   Dawn Powers were charged in an indictment alleging 19 counts of

28   mail fraud in violation of 18 U.S.C. § 1341 and 31 counts of wire
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 1   fraud in violation of 18 U.S.C. § 1343.        Generally, the

 2   indictment charges Defendants with engaging in schemes of

 3   investment fraud and mortgage/real-estate fraud.         Defendants

 4   Hagener, Gekko, and Powers have since pleaded guilty.             Defendant

 5   Fehst remains a fugitive.     A jury trial for Defendant Loomis – on

 6   counts 1 through 23 – is set for October 6, 2014.          A subsequent

 7   jury trial for Defendants Loomis, Llamas, and Woodard – on counts

 8   24 through 50 – is set for March 30, 2015.

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10                               II.   OPINION
11        A.     Motion to Dismiss

12        Defendant Woodard argues that the Court must dismiss the

13   indictment against him because “a promise made by the Government

14   to not charge the defendant went unfulfilled.”         Mot. at 16.     In a

15   lengthy narrative, Defendant claims that both Investigator

16   Lessler and AUSA Carlberg promised that he would be not be

17   charged with a crime if he cooperated with investigators.            Mot.

18   at 10-16.   The Government responds that Defendant was never

19   promised that he would not be indicted, and that, even if
20   Defendant’s allegations were true, dismissal of the indictment

21   would not be warranted.     Opp. to Woodard MTD at 2.

22        “[T]he responsibility of federal prosecutors meticulously to

23   fulfill their promises” is well-established.         United States v.

24   Hudson, 609 F.2d 1326, 1328 (9th Cir. 1979).         “Fundamental

25   fairness requires that promises made during plea-bargaining and

26   analogous contexts be respected.”       Johnson v. Lumpkin, 769 F.2d

27   630, 633 (9th Cir. 1985).     To warrant dismissal of an indictment

28   based on the Government’s promise not to prosecute, two
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 1   conditions must be satisfied: “(1) the agent must be authorized

 2   to make the promise; and (2) the defendant must rely to his

 3   detriment on that promise.”      Johnson v. Lumpkin, 769 F.2d at 633;

 4   see also, United States v. Johnson, 2013 WL 1981356 (E.D. Cal.

 5   May 13, 2013) (dismissing indictment based on prosecutor’s

 6   promise to defendant, prior to grand jury testimony).

 7        As Defendant’s and Investigator Lessler’s versions of events

 8   differ significantly, an evidentiary hearing would be required if

 9   Defendant’s version were sufficient to warrant dismissal.           If,
10   however, taking Defendant’s version at face value, the alleged
11   statements made by Investigator Lessler and AUSA Carlberg are
12   insufficient to warrant dismissal, no evidentiary hearing is
13   required.   Accordingly, the Court’s analysis assumes the veracity
14   of Defendant’s affidavit (which adopts the factual narrative in
15   his motion).
16        The first prong of this test eliminates any statements made

17   by Investigator Lessler from the Court’s consideration.           Hudson,

18   609 F.2d at 1329.    Investigator Lessler was not authorized to

19   make charging decisions on behalf of the U.S. Attorney’s Office,
20   and therefore his statements were not binding.         Even if he told

21   Defendant that, if he cooperated, “nothing will happen to you,”

22   and that “everything will be fine,” in response to Woodard’s

23   question whether he would be charged, Investigator Lessler had no

24   authority to make such promises.        Mot. at 14.   Under Hudson,

25   Defendant is not entitled to dismissal where “a federal agent is

26   alleged to have made a promise clearly outside his authority.”

27   Hudson, 609 F.2d at 1329.     Moreover, Defendant’s contention that

28   he “reasonably believed [the promise] was within the Agent’s
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 1   authority” is unavailing.     Mot. at 19.     The “authority” test is

 2   objective, not subjective: it matters not what Defendant

 3   “reasonably believed,” only what Investigator Lessler was

 4   actually authorized to do.     Hudson, 609 F.2d at 1329 (noting that

 5   there was “no allegation that the United States Attorney knew

 6   about the alleged promise or that such acts by [the agent] were

 7   sanctioned by the prosecution,” and not discussing Defendant’s

 8   subjective beliefs).    As Investigator Lessler was not authorized

 9   to make charging decisions, his statements to Defendant are
10   immaterial.
11        Conversely, it is undisputed that AUSA Carlberg had the

12   authority to make promises that Defendant would not be charged.

13   However, Defendant must also establish that he detrimentally

14   relied on AUSA Carlberg’s promise.       Hudson, 609 F.2d at 1329.    In

15   relevant part, Defendant’s motion alleges that the following

16   exchange occurred:

17             “While [Defendant] was signing the report, AUSA
          Carlberg told [Defendant] and his wife “We know you’re
18        good people. You got mixed-up with the wrong guy.”
          AUSA Carlberg went on to vilify [Defendant Llamas] and
19        telling [Defendant and his wife] that Llamas had used
          them. When AUSA Carlberg was done speaking Peter asked
20        “What happens now?” AUSA Carlberg said, “The worst
          thing that’s going to happen to you is you’ll get some
21        media attention after we charge everyone else.” Mot.
          at 16.
22

23        Importantly, by Defendant’s own account, AUSA Carlberg’s

24   statement came after Defendant had signed the report, admitting

25   to his involvement in the matter, and after his wife had

26   testified in front of the grand jury.       Accordingly, neither of

27   these acts can be characterized as “detrimental reliance” on AUSA

28   Carlberg’s subsequent statement that the “worst thing that’s
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 1   going to happen” is some negative media coverage.          Hudson, 609

 2   F.2d at 1329.    Defendant took no other actions that could be

 3   characterized as detrimental reliance on AUSA Carlberg’s promise.

 4   Mot. at 16.   Therefore, Defendant Woodard has failed to show that

 5   the indictment must be dismissed under Hudson, and his motion to

 6   dismiss is DENIED.

 7        B.   Motion to Suppress

 8        Defendant Woodard moves to suppress admissions made to a

 9   federal IRS investigator at his home, on the grounds that he was
10   not Mirandized before making them.       Mot. at 20.    Defendant argues
11   that he was in custody, despite the fact that he was interrogated
12   in his own home.    Mot. at 20.    The Government disputes the
13   veracity of a number of Defendant’s allegations about the
14   interrogation.   Opp. to Mot. to Suppress at 2.        Moreover, the
15   Government argues that, even if the facts set forth by Defendant
16   were true, he was not in custody during the interrogation.         Opp.
17   to Mot. to Suppress at 2.
18        As with Defendant’s Motion to Dismiss, the Defendant’s and
19   the Government’s versions of events involved in this Motion
20   differ significantly. Under these circumstances, an evidentiary

21   hearing would normally be required if Defendant’s version were

22   sufficient to warrant suppression.       If, however, taking

23   Defendant’s version at face value, the alleged circumstances of

24   his interrogation are insufficient to warrant suppression, no

25   evidentiary hearing is required.        Accordingly, the Court’s

26   analysis assumes the veracity of Defendant’s affidavit (which

27   adopts the factual narrative in his motion).

28        Defendant Woodard claims that, on February 8, 2011, FBI
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 1   Investigators Lessler and Gonzalez arrived at Woodard’s residence

 2   unannounced.    Mot. at 10.   When Woodard came to the door, the

 3   investigators flashed their badges and said, “we’re gonna come in

 4   to talk.”    Id. at 10.   The investigators were “clearly armed.”

 5   Id. at 10.    The three individuals sat in Woodard’s dining room,

 6   and Woodard explained some background information about his

 7   relationship with Loomis.     Id. at 10.    At one point, Investigator

 8   Lessler “exploded.”    Id. at 11.    He “leaned forward and glared at

 9   [Woodard] menacingly.     In an aggressive and loud voice Agent
10   Lessler told [Woodard] ‘You committed wire fraud!          You committed
11   mail fraud!    You committed bank fraud!      You could be indicted.
12   Your wife could be indicted.      She’s part of this fraud too.        Your
13   family is in trouble.’”     Id. at 11.    Woodard began to explain his
14   involvement with Loomis, and Investigator Lessler’s demeanor

15   changed, as he explained to Woodard that they were “trying to

16   throw you a life-line here” as long as he cooperated.             Id. at 12.

17   Defendant claims that this interaction lasted for seven hours and

18   that he was alone the entire time.

19        The Ninth Circuit has held that the following factors are
20   relevant in determining whether a defendant is in custody, for

21   purposes of Miranda, when he is interrogated in his own home:

22   “(1) the number of law enforcement personnel and whether they

23   were armed; (2) whether the suspect was at any point restrained,

24   either by physical force or by threats; (3) whether the suspect

25   was isolated from others; and (4) whether the suspect was

26   informed that he was free to leave or terminate the interview[.]”

27   United States v. Craighead, 539 F.3d 1073, 1084 (9th Cir. 2008).

28        With regard to the first factor, Woodard was interviewed by
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 1   two investigators in plain clothes.       Mot. at 10.    This is

 2   significantly less intimidating than the “eight law enforcement

 3   officers, . . . [all] armed, some [wearing] protective gear, and

 4   some of them unholster[ing] their firearms” seen in Craighead.

 5   Craighead, 539 F.3d at 1085.      Woodard claims that both

 6   investigators were “clearly armed,” but does not allege that

 7   either unholstered his weapon.      Mot. at 10.     This factor cuts

 8   strongly against a finding that the interrogation was custodial.

 9        With regard to the second factor, Woodard was not
10   restrained, either by physical force or threats.         Although the
11   prospect of criminal prosecution was clearly in the air, neither
12   investigator expressly told him that he would be charged if he
13   cut the interview short.     This pales in comparison to Craighead,
14   where the defendant was “escorted to a back storage room and the

15   door was closed behind him,” with a visibly armed detective in a

16   flak jacket “leaning with his back to the door in such a way as

17   to block Craighead's exit from the room.”        Craighead, 539 F.3d at

18   1086.   Woodard’s interrogation took place in his dining room.

19   Mot. at 10.   This factor also cuts strongly against a finding
20   that the interrogation was custodial.

21        With regard to the third factor, Woodard was interrogated by

22   the federal agents without any other individuals present.

23   However, unlike the defendant in Craighead, he was not actively

24   isolated from others who were originally present.          Craighead, 539

25   F.3d at 1086.   Rather, he was interviewed at home, and it appears

26   to be a coincidence that no one else was present.          This factor

27   cuts slightly in favor of a finding that the interrogation was

28   custodial.
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 1        With regard to the fourth factor, Woodard was not told that

 2   he was free to leave.     However, he was interviewed in the middle

 3   of the afternoon at his home, and the interaction did not occur

 4   subsequent to the execution of a search warrant, as was the case

 5   in Craighead.    Craighead, 539 F.3d at 1078.       The investigators

 6   knocked on Woodard’s door, and he answered the door (although he

 7   claims they said “we’re coming in to talk”).         These circumstances

 8   make the “free to leave” instruction far less important.          This

 9   factor cuts somewhat in favor of a finding that the interrogation
10   was custodial.
11        Defendant argues that three additional factors should be

12   considered: (1) the investigators initiated the contact; (2) the

13   interrogation lasted seven hours; (3) he was confronted with

14   evidence of guilt.    Mot. at 23-24.     Although courts have found

15   these factors relevant to a determination that an individual was

16   in custody, the circumstances differed significantly from those

17   in the present case.    See, e.g., United States v. Lee, 699 F.2d

18   466, 467 (9th Cir. 1982) (finding that an interrogation was

19   custodial, partially because it “lasted well over an hour,” but
20   also because it took place inside an FBI car); United States v.

21   Carter, 884 F.2d 368, 372 (8th Cir. 1989) (finding that an

22   interrogation was custodial, partially because the individual was

23   confronted with “damning evidence of guilt,” but also because he

24   was told “no, just stay here”).      None of these factors change the

25   fact that Defendant was interrogated in the middle of the

26   afternoon by two plain clothes investigators in his dining room.

27        Under the “necessarily fact intensive” Craighead inquiry,

28   the Court concludes that Woodward was not in custody during his
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 1   interrogation.    Craighead, 539 F.3d at 1084.       Therefore, no

 2   Miranda warning was required, and his admissions are admissible.

 3          Defendant Woodard also contends that his confession was

 4   involuntary, and its admission at trial would violate due

 5   process.   Mot. at 25.     A confession is involuntary if “a

 6   defendant's will was overborne” by the circumstances surrounding

 7   the confession.    Dickerson v. United States, 530 U.S. 428, 434,

 8   120 S. Ct. 2326, 2331, 147 L. Ed. 2d 405 (2000).         The due process

 9   test takes into consideration “the totality of all the
10   surrounding circumstances—both the characteristics of the accused
11   and the details of the interrogation.”        Dickerson, 530 U.S. at
12   434.   For all of the factors discussed above, the confession was

13   not involuntary, and therefore its admission would not violate

14   due process.   Accordingly, Defendant’s Motion to Suppress is

15   DENIED.

16

17                                III.   ORDER

18          For the reasons set forth above, the Court DENIES Defendant

19   Woodard’s Motion to Dismiss and Motion to Suppress:
20          IT IS SO ORDERED.

21   Dated: July 28, 2014

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